     Case: 3:22-cv-00100-MJN-CHG Doc #: 1-4 Filed: 04/14/22 Page: 1 of 1 PAGEID #: 48
                                                                                      ELECTRONICALLY FILED
                                                                                      COURT OF COMMON PLEAS
                                                                                      Tuesday, March 15, 2022 11:37:58 AM
                                                                                      CASE NUMBER: 2022 CV 01134 Docket ID: 36158243
                                                                                      MIKE FOLEY
                                                                                      CLERK OF COURTS MONTGOMERY COUNTY OHIO




                  MONTGOMERY COMMON PLEAS COURT/ GENERAL DIVISION
                              CIVIL CASE INFORMATION
                           This document has been automoatically generated by the Electronic Filing System



                                                   TYPE
   OLWIN METAL FABRICATION LLC                     MAIN PLAINTIFF
   MULTl-CAM INC.                                  MAIN DEFENDANT


  C.ATE~ORY                                                                      ~ALUE
  CASE TYPE                                                                       Civil
  JURY DEMAND                                                                     No
  PRAYER AMOUNT                                                                   223304
   ACTION TYPE                                                                    CIVIL ALL OTHER
  TYPE OF RESOLUTION
  PARCEL NUMBER (MORTGAGE FORECLOST JRE ONLY)


                                           REFILING INFORMATION


                                     E                            M                       TIFF                          T
                                                                  Olwin Metal Fabrication Multi-Cam, Inc.
                                                                  LLC

                     SUITS INVOLVING LIKE ISSUES AND SIMILAR PARTIES


  lcAsE NUMBER              lrunGE                               IMAIN PLAINTIFF                        IMAIN DEFENDANT



The Filer submitted this information and the document was generated.
Filer: Richard L. Carr




                                                         EXHIBIT B
